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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION
                                         ______

RANDY EUGENE BERKSHIRE,

                        Plaintiff,                    Case No. 1:22-cv-241
v.                                                    Honorable Ray Kent
SHANE JACKSON et al.,

                        Defendants.
____________________________/

                                           JUDGMENT

         In accordance with the opinion issued this date:

         IT IS ORDERED that Plaintiff’s federal claims are DISMISSED WITH PREJUDICE

for failure to state a claim pursuant to 28 U.S.C. § 1915A and 42 U.S.C. § 1997e(c).

         IT IS FURTHER ORDERED that Plaintiff’s state law claims are DISMISSED

WITHOUT PREJUDICE to his ability to pursue those claims in state court.



Dated:      July 8, 2022                              /s/ Ray Kent
                                                      Ray Kent
                                                      United States Magistrate Judge
